Case: 3:17-cv-00094-GFVT-EBA Doc #: 82 Filed: 08/14/20 Page: 1 of 3 - Page ID#: 1336




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY
                            CENTRAL DIVISION - FRANKFORT


   JUDICIAL WATCH, INC.,

                      Plaintiff,


   UNITED STATES OF AMERICA,
                                                             Civil No. 3:17-CV-94-GFVT-EBA
                      Plaintiff-Intervenor,

                      v.

   MICHAEL ADAMS, et al.,

                      Defendants.




   NOTICE OF INTENT BY UNITED STATES TO APPEAR BY VIDEOCONFERENCE

         On August 11, 2020, the Court scheduled a hearing for Friday, August 21, at 1:30 p.m.

  ECF No. 79. In accordance with the Court’s scheduling order, the United States hereby provides

  notice that it intends to appear at the hearing by videoconference.



                                                       Respectfully submitted,

                                                       ERIC S. DREIBAND
                                                       Assistant Attorney General
                                                       Civil Rights Division


                                                       /s/ Michelle Rupp
                                                       T. CHRISTIAN HERREN, JR.
                                                       JOHN A. RUSS, IV
                                                       MICHELLE RUPP
                                                       Attorneys, Voting Section
                                                       Civil Rights Division
Case: 3:17-cv-00094-GFVT-EBA Doc #: 82 Filed: 08/14/20 Page: 2 of 3 - Page ID#: 1337




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  Date: August 14, 2020
Case: 3:17-cv-00094-GFVT-EBA Doc #: 82 Filed: 08/14/20 Page: 3 of 3 - Page ID#: 1338




                                 CERTIFICATE OF SERVICE

         I hereby certify that on August 14, 2020, a true and correct copy of the foregoing

  document was served via the Court’s ECF system to all counsel of record.



                                                      /s/ Michelle Rupp
                                                      Michelle Rupp
